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 7   MARCELLE BANAGA
 8                                UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11

12                                                         CASE NO.: 2:15-CR-00235-TLN
      UNITED STATES OF AMERICA
13
            PLAINTIFF                                      STIPULATION AND ORDER TO
14                                                         CONTINUE JUDGMENT AND
15                                                         SENTENCING HEARING

16
       MARCELLE BANAGA
17

18                     DEFENDANT

19

20

21
                                            I.      STIPULATION
22
     Defendant Marcelle Banaga by and through his counsel of record and plaintiff United States of
23
     America, by and through its counsel of record hereby stipulate as follows:
24

25          1. By previous order, the judgment and sentencing hearing for Mr. Banaga is currently set for
26   June 6th, 2019.
27
                                                       1
28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
               Case 2:15-cr-00235-TLN Document 370 Filed 06/05/19 Page 2 of 2


 1           2. By this stipulation, the parties jointly request that the judgment and sentencing hearing in
 2   this matter be continued to September 19th, 2019 at 9:30 a.m., and that the dates for preparation of

 3   the sentencing memoranda be reset based on the sentencing date of September 19th, 2019.

 4
             3. The continuance request is due to counsel’s availability.
 5

 6

 7           Dated: 6/4/19
 8
                                                                      /s/ Alin D. Cintean
 9                                                                    Alin D. Cintean
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11
                                                                      /s/ Michael M. Beckwith
12                                                                    Michael M. Beckwith
13

14
                                                     ORDER
15
     This matter came before the Court on the parties' stipulation to request a continuance of the judgment and
16   sentencing hearing for defendants Marcelle Banaga. For the reasons stated above, and good cause
17   showing, the Court GRANTS the parties' request and CONTINUES the judgment and sentencing hearing

18   to September 19th, 2019 at 9:30 a.m. The dates for the preparation of the sentencing memoranda are
     RESET based on the sentencing date of September 19th, 2019.
19

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     IT IS FURTHER ORDERED THAT defendant Banaga shall personally appear on September 19th, 2019
21   at 9:30 a.m. in this Court.
22

23
     IT IS SO FOUND AND ORDERED this 5th day of June, 2019.

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26                                                                   Troy L. Nunley
27
                                                                     United States District Judge
                                                         2
28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
